Dear Secretary Carnahan:
This opinion letter responds to your request dated October 5, 2009, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Todd Jones regarding a proposed constitutional amendment to Article III, Section 38 of the Missouri Constitution. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to make it illegal for the legislature or state or local governments to expend, pay, or grant public funds to hospitals or other institutions for certain research and services, including abortions not medically necessary to save the life of the mother, abortion services, and certain types of stem cell research currently allowed under Missouri law?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours, _________________________  CHRIS KOSTER
Attorney General